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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                 )
 COMMONWEALTH OF MASSACHUSETTS                   )
 ex rel. MYKEL POWELL and                        )
 COMMONWEALTH SECOND                             )
 AMENDMENT, INC.; and MYKEL POWELL,              ) CIVIL ACTION NO.
                                                 ) 1:18-cv-11336-FDS
                               Plaintiffs,
                                                 )
                -against-                        )
                                                 )
 SGT. BRIAN HOLMES, in his Individual and        )
 Official Capacity as Sergeant of the Stoughton  )
 Police Department; JAMES O’CONNOR, in his )
 Individual and Official Capacity as Deputy      )
 Chief of the Stoughton Police Department;       )
 DONNA M. McNAMARA, in her Individual            )
 and Official Capacity as Chief of the Stoughton )
 Police Department; VILLAGE GUN SHOP,            )
 INC. d/b/a VILLAGE VAULT; and PETER
                                                 )
 DOWD,
                                                 )
                               Defendants.       )
                                                 )


                             PLAINTIFFS’ INTERROGATORIES
                            TO DEFENDANT JAMES O’CONNOR

To:    Defendant James O’Connor
       c/o Thomas R. Donohue
       Brody, Hardoon, Perkins & Kesten, LLP
       699 Boylston Street, 12th Floor
       Boston, Massachusetts 02116

       Plaintiffs submit these Interrogatories to Defendant James O’Connor pursuant to Rule 33

of the Federal Rules of Civil Procedure. Plaintiffs demand responses within thirty (30) days of

the date of these Interrogatories.
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                                         DEFINITIONS

       The following definitions supplement those set forth in Local Rule 26.5:

   1. The term you [including without limitation your] refers to Defendant James O’Connor.

   2. The term Accessories [including without limitation Accessory] refers to items related to
      Guns (defined below), such as but not limited to ammunition and ammunition
      components, magazines, other gun parts, cases, magazines and scopes.

   3. The term Entity [including without limitation Entities] refers to anything recognized as a
      person or otherwise having standing under the law other than an individual natural
      person.

   4. The term Gun [including without limitation Guns] refers to any type of rifle, shotgun,
      handgun or other projectile weapon, and also includes the frame or receiver of same.

   5. The term Individual [including without limitation Individuals] refers to an individual
      natural person.

   6. The term One-Year Guns refers to Guns and Accessories that the Police Department
      (defined below) held under M.G.L. c. 140, § 129D for at least one year.

   7. The term Police Department refers to the Stoughton Police Department.

   8. The term Relevant Period refers to the period from June 27, 2012 to the present.

   9. The term Village Vault refers to Defendant Village Gun Shop, Inc. d/b/a Village Vault.

   10. Local Rule 26.5 defines additional terms, including but not limited to Communication,
       Document, and Identify.



                               ADDITIONAL INSTRUCTIONS

       Plaintiffs supplement (but do not supplant) the Rules of Civil Procedure and the Local

Rules of this Court with the following additional instructions:

   1. You must disclose all responsive information that is within your possession, custody or
      control.

   2. You have a continuing obligation to supplement or revise your responses to these
      Interrogatories in the event: (a) additional information comes within your possession,
      custody, or control in the future; (b) you learn that additional information exists or is
      within your possession, custody, or control; or (c) you otherwise learn that your previous
      responses are in any way incomplete or inaccurate.


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3. In the event you assert that a privilege and/or the work product doctrine shields the
   disclosure of otherwise responsive information, you must comply with Rule 26(b)(5) and
   LR 33.1(e).

4. These additional instructions are asserted without prejudice to, or waiver of, the Federal
   Rules of Civil Procedure and the Local Rules of this Court.



                                 INTERROGATORIES

1. Identify each and every Individual and Entity involved in the Police Department’s storage
   and disposition of Guns and Accessories during the Relevant Period, but excluding items
   held only as evidence and the Police Department’s own service and training weapons and
   equipment.

2. Identify each and every Gun that the Police Department transferred to Village Vault
   during the Relevant Period by providing:

               a. identifying information for the Gun, such as but not limited to its make,
                  model, serial number and caliber;

               b. any inventory number;

               c. the reason(s) the Police Department had possession, custody or control of
                  the Gun;

               d. all dates that possession, custody or control of the Gun changed, with a
                  description of the change;

               e. each and every Individual or Entity known to have previously or
                  subsequently had possession, custody or control of the Gun; and

               f. a description of all consideration received in respect of the Gun.

3. Identify each and every Accessory that the Police Department transferred to Village
   Vault during the Relevant Period by providing:

               a. a description of the Accessory sufficient to distinguish it from other items,
                  such as (for example) “10-round magazine for Smith & Wesson SD9
                  handgun” or “Nikon Monarch 3x9 scope” or “50 round box of Remington
                  9mm Luger ammunition”;

               b. any inventory number;

               c. identification of any particular Gun or Guns the Accessory related to;




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               d. the reason(s) the Police Department had possession, custody or control of
                  the Accessory;

               e. all dates that possession, custody or control of the Accessory changed,
                  with a description of the change;

               f. any Individual or Entity known to have previously had possession,
                  custody or control of the Accessory; and

               g. a description of all consideration received in respect of the Accessory.

4. Identify each and every Individual and Entity that was involved in providing any
   consideration in respect of any Gun or Accessory identified in response to Interrogatory
   nos. 2 and 3 above, including a description of the consideration such Individual or Entity
   provided, the date(s) it was provided, and its amount or other value.

5. Identify each and every Individual involved in deciding how to use any consideration
   provided in respect of any Gun or Accessory identified in response to Interrogatory nos. 2
   and 3 above.

6. Identify each and every Individual and Entity that has or had possession, custody or
   control of any records related to any consideration provided in respect of any Gun or
   Accessory identified in response to Interrogatory nos. 2 and 3 above.

7. State the total amount of consideration that Village Vault made available to the Police
   Department during the Relevant Period, including but not limited to the amount of
   “credits” that could be used for purchases and the value of the property, services and
   other things ultimately obtained.

8. If any part of the “credits” (and any other consideration) identified in response to
   Interrogatory no. 7 above were not in respect of One-Year Guns, then identify: a) all
   Guns and Accessories that were not One-Year Guns; and b) all parts of “credits” (and any
   other consideration) that were not in respect of One-Year Guns.

9. Identify all property, services and other things obtained in exchange for the “credits” (and
   any other consideration) identified in response to Interrogatory no. 7 above by providing
   as to each:

               a. a description of it;

               b. the date it was obtained;

               c. each and every Individual and Entity involved in providing it;

               d. its current location and/or the location it was or is to be performed;

               e. each and every Individual and Entity that currently has possession,
                  custody or control of it (if capable of possession, custody or control); and


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                  f. its value.

   10. Identify each and every Individual and Entity that the Police Department has transferred
       any Gun or Accessory to during the Relevant Period other than Defendant Village Vault
       or the original owner of the Gun or Accessory, but excluding items held only as evidence
       and the Police Department’s own service and training weapons and Equipment.

   11. If any part of the discovery responses you previously provided in the Powell v. Holmes,
       et al. action (no. 1:17-cv-10776) is inaccurate or requires further explanation in the
       context of the present action, then identify each such response and provide the correction
       or explanation.

   12. Identify any other law enforcement agencies that you know or have reason to believe
       transferred Guns or Accessories to Village Vault during the Relevant Period.


Dated: December 17, 2019


                                         By: /s/ David D. Jensen
                                            David D. Jensen
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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on December 17, 2019, I served the within document [Plaintiffs’

Interrogatories to Defendant James O’Connor] by emailing a copy thereof to each of the following:

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                                         /s/ David D. Jensen
                                         David D. Jensen




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